Case 5:08-cv-00455-CAR-GMF Document 1 Filed 12/29/08 Page 1 of 11

 

 

UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA
PO BOX 129
MACON, GA 31202+0129
ACCOUNT No. # 5:02-CR-27-CAR

TRACKING#s: EH 519446028 US(To the Comptroller), EH 519446031 US(To the Dept.:Treas.PR), EH 461379455 US(To Payee),
EH 519446045 US(To US Treas.), EH 519446059 US(To Att. Gen), EH 519446062 US (To the Comptroller):

 

 
 
  

IN THE MATTER OF } WRIT IN THE NATURE OF DISCOVERY
}
DWIGHT YORK misnomer, } ACCEPTANCE FOR VALUE AND CONSIDERATION AND
AIK/IA MALACHI Z. YORK, } REQUEST FOR DEBT VALIDATION ASSESSMENT
AIK/A ISA MUHAMMAD }
AIK/A BABA, ISSA AL HAADI AL MAHDI, } ne . g: on
AIK/A ISA ABD’ ALLAH MUHAMMAD } Filed at___ Zoe Aw
AIK/A DWIGHT D. YORK, } DATE J2-29-05
AIK/A DR. MALACHI Z. YORK, }
. NOBLE: MALACHI YORK EL } UPON CERT, UE DIST
} MIDDLE DISTRICT OF GHORGH
Plaintiff }
Vv. } .
USA, - 5:08 -CV-455
FEDERAL BUREAU OF PRISONS, AND _ }
AGENTS/HEIRS }
}
Defendants }

COMES NOW: The Secured Party in Propia Persona (Pro Per) in the matter of Malachi
York El, a.k.a. Chief ThunderBird Black Eagle of the Yamassee Native American
Moors does hereby accept all alleged charges for value to be returned for immediate
closure and settlement Pursuant to 27 CFR 72.11 regarding case #: 5:02-CR-27-CAR and
case #: 5:02-CR-27-CAR “et al” and does hereby request a validation of debt for
case #: 5:02-CR-27-CAR with attached presentments from Agent:(S)
UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA / “et al” /, and
UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA

MACON DIVISION | “et al” /Prepared and submitted this 24 day of December, 2008.

Malachi York El:©™, Secured Party, Settlor
Nonresident / Non Domestic
First Class, U.S. Delivery
% PO BOX 522
Decatur,GA [30031]

 

 

 
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I. Notice of Acceptance

*Nunc Pro Tunc*

- NOTICE OF INTENT
(Under Contract Law)

The enclosed original Notice of Acceptance, is hereby submitted under “Contract Law”

in “good Faith” for the purpose of Offeror: UNITED STATES DISTRICT COURT FOR THE DISTRICT OF

COLORADO /", “et al” Address: PO BOX 129 , MACON, GA 31202+0129, herein after
“offeror in contract law”, to discharge all debt in this matter, for and on behalf ef the

MALACHI Z. YORK/DWIGHT YORK, for the trust-fund (debtor), through an
acknowledgement of Public Policy H.J.R. 192 passed on June 5, 1933. The collateral for this

Notice of Acceptance is the United States thru the MALACHI Z. YORK/DWIGHT YORK,
for the trust-fund (debtor), a transmitting utility, as they are responsible under reorganization of
all debts Public, and Private. The receiver in Bankruptcy is the Secretary of Transportation,
Mary E. Peters, (SEE YOUR Title 46 3§ 1247 Appendix (a)(b).

For further correspondence you contact Malachi York El:©™ secured party, trustee at the above
location in writing. In the event you return my instrument without providing me remedy, I
will accept your return as a “Dishonor”. This will also apply if you: 1. Fail to honor my
instrument, 2. Destroy my instrument, or 3. Fail to provide me remedy in Bankruptcy.

Respectfully Submitted,

Authorized Representatiye, Living Principal, Grantor, Trustee:
By: Hees
“As 89 das Avail”

For: The MALACHI Z. YORK, trust fund .

FOR THE PURPOSE OF THIS OFFER, THE DEFINITIONS BELOW APPLY

Offeree: In contract law, the person to whom an offer is made.
Offer: In contract law, a proposal made by one party to another indicating a willingness to enter into a contract.
Offeror: Jn contract law the person who makes the offer.

Account No. 5:02-CR-27-CAR

_ For Further Proof of Conditional Acceptance of Offer Information See Attachment:

 

 
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“ NEGOTIABLE ” December 24, 2008
“BONDED INTERNATIONAL BILL OF EXCHANGE ORDER”
(UNCITRAL CONVENTION)

UCC 1 ACCOUNT NUMBER: 064360272
UCC FINANCIAL STATEMENT# 2007-2268538-33

RE: “NOTICE OF ACCEPTANCE OF DISHONOR and NOTICE OF SET OFF in ACCORD
WITH UCC- 3- 419 and HJR — 192 and REGISTERED ADJUSTMENT of ACCOUNT:

COLLATERAL and LOCATION: 5:02-CR-27-CAR

Offeror: UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA/"et al"

PO BOX 129
MACON, GA 31202+0129

VALUE of BILL: $300,000,000.00

Thank you for your Offer / Commercial Presentment , which | accept for value (all related
endorsements front and back to include those in accord with UCC - 3 - 419) as evidence with
BILL of EXCHANGE. | have directed the “SETOFF’” of this BILL of EXCHANGE to my Private
Treasury UCC 1 Contract Trust Account No. 064360272 , in the amount listed above, [and] as it
is part of my tax estimate for use by the Republic, and the account is charged for the fees
necessary for securing and registration (for the priority exchange for the tax exemption to
discharge the public liability in accord with HJR - 192) of my personal (Preferred stock /
unalienable). | have directed the command memory of account No. 064360272 to charge the
same to the debtor’s order or the Secretary of the Treasury’s Order. Until then, | am

Authorized Representative, Living Pringipal, Grantor, Trustee
Very truly yours, mw CsA 0
“As good as’Avail”

New: Post Bonded Registered Mail Number: RR 059 445 061 US, TRACKING#s: EH 519446028 US(To the Comptroller),

EH 067526717 US(To the Dept.:Treas.PR), EH 067526748 US(To US Treas.), EH 519446059 US (To Att. Gen), EH 519446062 US(To the
Comptroller):

Henry M. Paulson Jr., Trustee or secretary in charge

Department of Treasury

Employer Identification Number 064360272

 
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“ NEGOTIABLE ”

ONDED INTERNATIONAL BILL of EXCHANGE ORDER”

IN ACCORD WITH HJR-192 (UNCITRAL CONVENTION)
TRACKING#s RR 059 445 061 US, EH 519446028 US(To the Comptroller), EH 067526717 US(To the Dept.:Treas.PR),
EH 519446076 US (To Payee), EH 067526748 US(To US Treas.), EH 519446059 US(To Att. Gen), EH 519446062 US(To the
Comptroller): .
Henry M. Paulson Jr., Trustee or secretary in charge
Department of State Treasury
1500 Pennsylvania Ave, NW

Washington, DC. 20220

 

      

  

RE: Trustee, Henry M. Paulson Jr., Secretary - in - charge:

Enclosed are documents (copies) from my examination of my commercial Agreements, which are
listed:on the enclosed (accounting), with Receipts and other evidence that | have accepted for
value (all related endorsements front and back to include those in accord with UCC - 3 - 419).
The total amount of NEGOTIABLE SET OFF enclosed is $300,000,000.00 My UCC 1
File Number is: 2007-2268538-33

Please “Set Off” to my Private Treasury U.C.C. Contract Trust Account, 064360272, for the same
value, and charge my account for the fees necessary for securing and registration (for the priority”
exchange for the tax exemption to discharge the public liability) of my personal possessions, and
command memory of account 064360272 , to charge the same to the debtor’s order or your order.

The RE: POST BONDED REGISTERED ACCOUNT, NUMBER RR 059 445 061 US
fund, which is part of my tax estimate, is directed for use (priority) for the theocracy Republic,
(Article IV, Section 4 of the united States Constitution) in accord with public policy HJR - 192,
and (Set Off of the public debt).

Mr. Henry M. Paulson Jr., Secretary - in - charge, or your Deputy - in -charge, are to take
my acceptance (BA) (this Article Seven receipt) in exchange for the tax-exempt priority.
“The NEGOTIABLE INTERNATIONAL BILL or EXCHANGE ORDER’, in accord with

HJR - 192, and when presented for the receiver to the Federal Window, for settlement,
(EFT), within the three (3) day Truth - in - lending time for settlement of retail agreements,
according to your Regulation Z, 15 USC 226.1 et seq.

After all settlement charges have been made for this " INTERNATIONAL BILL OF EXCHANGE,”
please furnish me a statement of the financial status of my Private Treasury UCC 1 Contract Trust Account.

lf you need more information or assistance with Adjusting my UCC CONTRACT TRUST ACCOUNT,
you can call or write me. ATTACHED INVOICE NUMBER(s): #5:02-CR-27-CAR

Until then, | am

Authorized Representative, Living Principal, Grantor, Trustee
Very truly , —

“As good as/Avail”

Malachi York El:© ™
Nonresident / Non Domestic
First Class, U. S. Delivery
Care of PO BOX 522
Denver, Colorado [80218]

Employer Identification Number 064360272 Copy- file

 

 
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Negotiable - NOTICE OF TRANSFER

POST BONDED REGISTERED MAIL: RR 059 445 061 US

REGISTERED UCC 1 ACCOUNT NUMBER ROUTING No. RR 059 445 490 US
UCC1 TRUST ACCOUNT NUMBER: 064360272

BOND NUMBER: B97927756

UCC FINANCIAL STATEMENT# 2007-2268538-33

RE: NOTICE OF ACCEPTANCE OF DISHONOR and NOTICE of SET OFF
IN ACCORD WITH UCC 3-419 and HJR-192 and REGISTERED ADJUSTMENT
OF ACCOUNT.

COLLATERAL and LOCATION:

Offeror: UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA/"et al"

PO BOX 129
MACON, GA 3120240129

VALUE OF Dishonor: _$300,000,000.00

Registered on Account: $300,000,000.00

Partial Released: $300,000,000.00
Account Balance: $300,000,000.00

You are hereby given Notice that the United States Department of Commerce, Bureau
of Census, has classified certain persons as United States citizens, and they have been
placed as Collateral in Bond for the Security of the United States Department of the
Treasury. Those persons are identified under the following categories: Those carrying
a Social Security number, United States Passport, Permanent Resident Alien card or
Diplomatic Immunity. These persons have been placed on the Rolls of the International
Monetary Fund (I‘1vIF) in lieu of the National Debt.

Due to your Dishonor in this matter you have caused your Bond to be transferred by
Acceptance of Lien against your name and it will be registered as such with the State
authorities in the state where you are engaged in commercial business.

Authorized Representative, Living Principal, Grantor, Trustee
Yo TA eS

enclosures _
cc: Trustee, Henry M. Paulson Jr. or secretary in charge
Department of the Treasury
1500 Pennsylvania Ave, NW
Washington, DC 20220
file: ACCOUNT No. # 5:02-CR-27-CAR

o¥: ee

 

 
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‘VERIFICATION:

TRACKING#s RR 059 445 061 US, TRACKING#s: EH 519446028 US(To the Comptroller), EH 067526717 US(To the Dept.:Treas.PR),
EH 519446076 US (To Payee), EH 067526748 US(To US Treas.), EH 519446059 US(To Att. Gen), EH 519446062 US(To the Comptroller):
UCC FINANCIAL STATEMENT # 2007-2268538-33

1, Secured Party, Holder in due course Sui Juris, hereby verify, under
penalty of perjury, Under the laws of the united States of America, without
the "United States” (federal government), that the above statement of
facts and laws are true and correct, according to the best of my current
information, knowledge, and belief, so help me Creator of Gods Allah /
YHVH(God), pursuant to your 28 U.S.C. 1746(1) (see Supremacy clause in
part material with all provisions of your Title 28 U.S.C. Constitutional,
International and Treaty laws.

Dated December 24th, 2008

RESPECTFULLY SUBMITTED,

Authorized Representative, Living Principal, Grantor, Trustee

Secured Party, Sui Juris We <2\f <>

CERTIFICATE OF SERVICE

|, Secured Party, Trustee certify that on December 24th, 2008,
The foregoing Writ of Discovery was duly served by placing a copy in the
U.S. Mail to the following:

Offeror: UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA /"et al"

PO BOX 129
MACON, GA 3120240129

POSTED REGISTERED Maiino# RR 059 445 061 US

 

 
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*AFFIDAVIT FOR VERIFICATION OF THE FACTS*

TRACKING#s: EH 519446028 US(To the Comptroller), EH 067526717 US(To the Dept.:Treas.PR), EH 461379455 US(To Payee),
EH 067526748 US(To US Treas.), EH 519446059 US(To Att. Gen), EH 519446062 US(To the Comptroller):

On the 22nd, day of December, 2008 A.D., a living Sovereign Man known as
‘Secured Party, Trustee, as holder in due course, swore out an Administrative
Notice of Affidavit, denying the existence of all corporations that as notarized by myself
and attached hereto. The notary record shows that no rebuttal of this affidavit was
delivered back to me within the time allowed, and therefore, confession of judgment of
the merits is warranted.

Further Affiant Saith Naught.

Ls. We =v a
{Seal} Secured Party

state of :Georgia )
ss county of: Clarke )
I AMIR JAMES , a notary public

 

State Of _Georgia County, _Clarke_, certify

That Secured Party, _ personally appeared before me this day, and being
duly sworn, stated that he/she knows the handwriting of

Secured Party_, and that the signature of Secured Party
as a subscribing witness to the foregoing instrument is the signature of

Secured Party_.
Witness my h
(Official seal

Otary Public

My commission expires __ February 12, 2012

and official seal, this the _24th day of _ December _, 2008.

 

  
 

 

 

 

 

 

 
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‘AFFIDAVIT NOTICE OF THIS PROCESS

TERMS THEM SELVES ARE NOT SUBJECT TO NEGOTIABILITY
| DID ACCEPT FOR VALUE. THIS INSTRUMENT IT SELF CAN BE

NEGOTIATED FOR CREDIT

TRACKING#s: EH 519446028 US(To the Comptroller), EH 067526717 US(To the Dept.:Treas.PR), EH 461379455 US(To Payee),
FH 519446045 US(To US Treas.), EH 519446059 US(To Att. Gen), EH 519446062 US(To the Comptroller):

Re: Account No.5:02-CR-27-CAR USPS MAIL NO. EH 519446076 US,
and EH 519446059 US:
Attn: UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA/"et al"
PO BOX 129

MACON, GA 3120210129

Re: Notice — For the Processing of Bond / International Bill of Exchange or BILL OF
EXCHANGE for discharge of debt (BA Time Draft) Date: Monthly

Enclosed is the Bond and International Bill of Exchange BOND RECEIPT, the
processing of which will discharge the entire current amount on the claim herein | did
accept. This Negotiable Instrument is presented under the authority of Public Law 73-
10, HJR 192 JUNE 22nd 1933, UCC 3-104(c), Spencer v Sterling Bank, 63 Cal Ap 4th
1055 (1998), Guaranty Trust Co. Of New York v Henwood et al, 59 S.Ct. 847, and
Within Negotiable Instruments, Vol 3 (2001 Supplement) on the undersigned. The
following are the steps required to settle this account. This is nota Treasury / Bond
Account. THIS 1S A UCC Contract Trust Account on the CESTUI QUE TRUST.
Attached is a Receipt / COUPON STUB for the Vendor / Client _,to be torn off and
kept for your records Titled INTERNATIONAL BILL OF EXCHANGE OR BILL OF
EXCHANGE BOND RECEIPT/ STUB

4... The enclosed Negotiable Instrument is hereby presented and the following
process must be followed to the letter in order to satisfy the claimed amount due on this
account and discharge of this debt. Please be advised that taxes are due

To the Comptroller for the credit / income that has been given .

2. My Personal Direct Treasury (UCC Contract) Trust Account has been set up at
the Department of the Treasury and may only be accessed with my approval through
the bank account of the Claimant directly to the Secretary of the Treasury. The original
Negotiable Instrument must be presented by Claimant's financial institutional via
Certified or Registered Mail directly to the Secretary of the Treasury - Department of the
Treasury Bank (Federal Window), 1500 Pennsylvania Ave NW, Washington, D.C.

20220, Attn: Henry Paulson.

3. The Item Processor at Claimant's financial institution, with full identification and
Bailee (Authorized Agent) signature, is to present original the Negotiable instrument
along with the Instruction Notice and the stamped Claim to the Secretary of the
Treasury - Department of the Treasury Bank at the above address.

4. Claimant’s financial institution (T.T.L. department) is to retain the document
copies and request that a copy of the Return Receipt from the Federal Window be
supplied to them noting the date the original Negotiable Instrument was received at the

 
 

 

Federdlalvindowcinoeceerdangeswith Bubli and, Banking, Belisy. pEgs out pf state

transactions the Banking Codes stipulate fifteen (15) days.

5. The copy of the Negotiable Instrument is to be held at the financial institution until
the required period for the Federal Window, Regulation J and

Federal Reserve, your Reg Z - Truth in Lending, 12 USC §2261 et seq, the Order /
Property has passed. Then the full-faced amount of the Negotiable Instrument is
automatically released by the local financial institution for credit to Claimant’s account

and discharge the claim.

6. If the Secretary of the Treasury (Payee-Drawee) sends notice in writing of some
error or problem please notify the undersigned immediately upon receipt of such Notice

and the matter will be addressed with the Department of the Treasury Bank and the
Federal Window. You will be notified of the corrective action taken.

In joinder all applicable law.

7. | hereby request that you notify the undersigned me, when the time period for the
Federal Window and the Federal Reserve under your Regulation J and Regulation Z
has transpired and the account has been adjusted. .

Thank you for your cooperation in getting this account settled and the claim discharged
and closed...

 

Affirmed and Subscribed
Before me AMIR JAMES
Notary Public

On this 24th day of December 2008
My commission expires _02/12/2012

 

Wm Bp rr

Malachi York El: © ™

Owner, Secured Party, Creditor. Void where prohibited by faw

 

 
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12/24/2008

wewdeekeeeeeNOTARIAL PROTEST NOTICE KNOWLEDGE******#4 84%

Attn: Clerk’s Office, Fiduciaries-Clerk of Court, Stenographer / Court Reporter, Judge, Bailiff;
UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF GEORGIA
475 Mulberry Street Macon, Georgia 31202
Greetings to Clerk of Court for the United States District Court For
The Middle District of Georgia;
“FDLE THE ATTACHMENTS AS A FEDERAL CIVIL SUIT”
This Notice is in reference to the attached File knowledge to be made on behalf of a USP
Florence ADX Prison Inmate(17911-054) Malachi York El:O™, misnomer
DWIGHT YORK. Enclosed are documents to be Filed as a [PRO SE] Federal Civil Suit,
CLASS-ACTION-CREIMINAL COMPLAINT CLAIM(COMMERCIAD),
PURSUANT TO 8 USC §1481, 27 USC § 72.11, 27 CFR 72.11, 46 USC § 781,UCC 1-
207, -308, Federal Rule 12 CFR § 226.10, etc., In accordance with the TENDERED
PAYMENT:
$350.00 THREE HUNDRED FIFTY USD SECURITY (77P STAFF)TO THE COURT
(samurr, STENOGRPHER, JUDGE, CLERK OF court) FOR PROCESSING OF EVIDENCE
CRIMINAL COMPLAINT DOCUMENTS:

*IF YOU’ VE ANY QUESTIONS OR CONCERNS REGARDING THIS
FILING, PLEASE CONTACT US AT THE BELOW LISTINGS;

NOTARIAL CONTACTS

404.808.1383

404.808.1908

678.471.5198

 

 

 
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2. IRS FORM 56, FIDUCIARY, RELATIONSHIP......

 

 

 

 

 

 

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8. FINAL JUDGEMENT NOTICE OF ACCEPTANCE FOR CLOSURE DECLARATION
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